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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

     In re:                                                 Chapter 11

     BLOCKFI INC., et al.,                                  Case No. 22-19361 (MBK)

                             Debtors.1                      Jointly Administered


 1
   The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC
 (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A);
 BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC
 (0154). The location of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City,
 NJ 07302.
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                       APPLICATION FOR AN ORDER FOR ADMISSION
                        PRO HAC VICE OF STEPHEN D. PALLEY, ESQ.

           Pursuant to Rule 101.1 of the Local Civil Rules for the United States District Court for the

 District of New Jersey and Rule 9010-1 of the Local Rules of the United States Bankruptcy Court,

 District of New Jersey, the undersigned counsel hereby seeks entry of an order granting the

 admission pro hac vice of Stephen D. Palley, Esq. of the law firm of Brown Rudnick LLP, to

 represent the Official Committee of Unsecured Creditors in the above-captioned chapter 11 case.

 In support of this application, counsel submits the attached Certification of Stephen D. Palley,

 Esq., and requests that the proposed form of order submitted herewith be entered. Counsel certifies

 that he is admitted, practicing, and a member in good standing with the Bar of the State of New

 Jersey.



  Date: December 30, 2022.                                /s/ Donald W. Clarke     .
                                                        Donald W. Clarke
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                                                        Local Counsel for the Official Committee of
                                                        Unsecured Creditors




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